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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                                :
MORGAN CARPENTER, on behalf of                  :
himself and others similarly situated,          :
                                                :
        Plaintiff,                              :     Case No. 2:21-cv-3381-EAS-EPD
                                                :
v.                                              :     Judge: Edmund A. Sargus
                                                :
ALLSTATE INSURANCE COMPANY                      :     Magistrate Judge Elizabeth P. Deavers
                                                :
        Defendant.                              :
                                                :
                                                :


                                            ORDER

        The parties filed a Joint Motion to Conduct the Final Approval Hearing Via

Videoconference (ECF No. 20). For good cause shown, the motion is GRANTED. The Court will

hold a virtual fairness hearing on August 15, 2022, at 1:30 p.m. The Court will send instructions

to join the meeting at a later date.

        IT IS SO ORDERED.

DATED: 8/6/2022                                       s/Edmund A. Sargus, Jr.
                                                      EDMUND A. SARGUS, JR.
                                                      UNITED STATES DISTRICT JUDGE
